Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 1 of 25. PageID #: 230




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



United States of America                    )       CASE NO. 1:06-cv-2927
                                            )
              Appellant,                    )
                                            )
              Vs.                           )
                                            )
Kenneth Harchar, and                        )       JUDGE PATRICIA A. GAUGHAN
Andrea Harchar                              )
                                            )
              Appellees                     )
                                            )
                                            )       Memorandum of Opinion and Order
                                            )


       INTRODUCTION

       Currently before the Court is Appellant the United States of America’s appeal of the

Bankruptcy Court’s decision denying in part Appellant’s motion to dismiss and alternative

motion for summary judgment regarding the adversary complaint of Appellees/Debtors Kenneth

and Andrea Harchar (BD# 141-42).1 At issue here are Appellees’ claims that the Internal

Revenue Service (“IRS”) violated the automatic stay provisions of Section 362 of the

Bankruptcy Code, 11 U.S.C. § 362, by placing an administrative freeze on payment of

Appellees’ postpetition tax overpayment and taking other actions that delayed Appellees’ receipt



 1
        This is an appeal from adversary proceeding No. 00-1184, which is
        related to Chapter 13 bankruptcy proceeding No. 98-13277.

                                                1
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 2 of 25. PageID #: 231




of the overpayment amount. For the following reasons, the decision of the Bankruptcy Court is

Affirmed.

       BACKGROUND2

       Debtors filed a petition for Chapter 13 bankruptcy in 1998. Included among the

scheduled debts was a $6,200 unsecured debt to the IRS. The IRS filed a proof of claim which

included a $353 priority tax claim and a general unsecured tax claim of $6,335. The plan

eventually confirmed by the Bankruptcy Court provided for full payment of the priority tax

claim and 5% payment of all unsecured claims, including the unsecured tax claim.

       At some point after the 1998 bankruptcy filing the IRS placed an administrative freeze on

all automated activity involving the Debtors.3 Thus, the Debtors did not automatically receive a

refund on their 1999 return for overpayment and instead had to repeatedly ask the IRS for the

overpayment.4 The IRS refused, and approximately seven weeks after it became aware of the

overpayment, filed a motion with the Bankruptcy Court to modify the plan such that the refund




 2
        Unless otherwise noted, the Background includes allegations from
        Appellees’ Third Amended Complaint and the record of
        proceedings before the Bankruptcy Court.
 3
        The IRS submitted the declaration of Fred Yellon, which provides
        a number of justifications for the freeze as a matter of general IRS
        policy. The freeze is implemented when a taxpayer is involved in
        bankruptcy proceedings and essentially stops all automated
        activity. In many cases this helps to comply with the bankruptcy
        stay by preventing automated collection activity and automated
        setoffs.
 4
        It is undisputed that the 1999 overpayment was a postpetition
        payment and thus would not be subject to setoff against the
        prepetition unsecured debt.

                                                2
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 3 of 25. PageID #: 232




would be used to increase payments to unsecured creditors such as the IRS.5 The Debtors

responded that they were providing all of their disposable income into the plan. The IRS then

withdrew its motion and refunded the 1999 overpayment in July of 2000.6

       While the motion of the IRS was pending, but prior to the actual repayment, the Debtors

filed an Adversary Complaint against the IRS alleging, inter alia, that the actions of the IRS

were in violation of federal law. Thereafter, in 2001, the Debtors filed separate returns seeking

refunds for the 2000 tax year. The automatic transactions were again frozen and the IRS delayed

a number of months in providing the refunds.7 With respect to Mr. Harchar, the IRS performed

an audit of the return to assess whether his dependent claims were proper. The IRS ultimately

provided the full refund in November of 2001.8 With respect to Mrs. Harchar, the IRS delayed

payment until June 2001 while it determined whether the Debtors’ dependent claims were


 5
         The Debtors allege, and the IRS does not dispute, that the IRS has
         the ability to adjust the freeze such that overpayment transactions
         can be automatically processed. The Yellon declaration claims
         that this may be against the government’s interests such as where
         the overpayment is for a prepetition tax year or where payment
         should be made to a trustee rather than a debtor. The Yellon
         declaration also asserts that the Cleveland IRS office regularly
         screens for postpetition refund claims by chapter 13 debtors to
         decide whether to manually issue a refund or file a motion with the
         court.
 6
         The Yellon declaration provides further reasons—not applicable to
         the Debtors’ returns—that the IRS might wish to delay repayment.
         These include that the IRS may want to check if the debtor has
         defaulted on a plan or if a plan had not been approved.
 7
         The IRS claims that its counsel told the Debtors’ counsel to
         provide notice that the returns were being filed.
 8
         The IRS again faults the Debtors’ counsel by claiming that the
         delay resulted from the failure of Debtors’ counsel to provide
         certain information to the IRS.

                                                 3
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 4 of 25. PageID #: 233




inconsistent.

        Finally, the Debtors also allege that Mrs. Harchar called the IRS to inquire about the

status of her delayed refund and was told that she did not deserve a refund and that the IRS was

applying it to her prepetition tax liability.

        The adversary proceedings continued for a number of years and the Debtors eventually

filed a Third Amended Complaint on February 15, 2006 (BD# 122). The IRS responded with a

“Motion to Dismiss Adversary Proceeding (or at Least Partially Dismiss) or for Summary

Judgment, and to Rule on this Motion before Ruling on Discovery Disputes.” (BD# 125). The

Bankruptcy Court granted the motion in part and denied the motion in part. First of all, the

Bankruptcy Court declined to convert the motion into a motion for summary judgment, and thus

refused to consider certain matters outside of the Third Amended Complaint. With respect to the

merits, the Bankruptcy Court dismissed “[t]he debtors’ claims for due process, for declaratory

relief, and for injunctive relief for lack of subject matter jurisdiction under civil rule 12(b)(1) and

the debtors’ claims for violation of bankruptcy code §§ 525(a) and 1327 . . . under civil rule

12(b)(6) for failure to state a claim upon which relief can be granted.” (BD# 141). The

Bankruptcy Court did not grant the motion as to the Debtors’ claims that the IRS freeze resulted

in violations of 11 U.S.C. §§ 362(a)(3) & 362(a)(6).

        The IRS filed a motion for leave to appeal the decision. (Doc. 2). The motion was

unopposed and granted by the Court. Now before the Court are the following issues for appeal:

        1.      § 362(a)(3). Does the refusal to pay a debt control any “property” of the
                claimant and, if so, is that property “property of the estate” where the
                claimed property is a tax refund owed to a debtor whose Chapter 13 plan
                is confirmed, for a tax year ending after confirmation of the plan, where
                the plan does not provide for tax refunds to be used to fund payments to
                the Chapter 13 trustee for estate administration and distribution among

                                                  4
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 5 of 25. PageID #: 234




               creditors?

       2.      § 362(a)(6). Does the fact that one of the reasons the IRS shuts down
               computer-automated refunding of tax overpayments to bankruptcy debtors
               is to preserve the ability to file a motion (where appropriate) either to
               offset prepetition overpayments against prepetition tax claims or to have
               postpetition overpayments be paid to a trustee for distribution partly back
               to the IRS, mean that the computer freeze code is an “act to collect” a
               prepetition debt in violation of § 362(a)(6). If the answer to this is no,
               does it become a violation because an IRS employee mistakenly tells a
               debtor that the IRS is going to apply a postpetition tax overpayment to a
               prepetition claim where no such offset i[s] done, and the IRS instead files
               a motion to turn the refund over to the Chapter 13 trustee for
               administration?

       STANDARD OF REVIEW

       A district court reviewing a bankruptcy court’s decision on matters of law must apply a

de novo standard of review. Lutz v. Chitwood, 337 B.R. 160, 168 (S.D. Ohio 2005) (citing In re

Caldwell, 851 F.2d 852, 857 (6th Cir. 1988)). The sufficiency of a complaint is a matter of law.

Id. (citing LRL Properties v. Portage Metro Hous. Auth., 55 F.3d 1097, 1104 (6th Cir. 1995)).

       When considering a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure, the allegations of the complaint must be taken as true and construed liberally in

favor of the plaintiff. Lawrence v. Chancery Court of Tenn., 188 F.3d 687, 691 (6th Cir. 1999).

A claim is not to be dismissed “unless it appears beyond doubt that the plaintiff can prove no set

of facts in support of his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S.

41, 45-46 (1957); see also Hammond v. Baldwin, 866 F.2d 172, 175 (6th Cir. 1989). Notice

pleading requires only that the defendant be given “fair notice of what the plaintiff’s claim is and

the grounds upon which it rests.” Conley, 355 U.S. at 47. However, the complaint must set forth

“more than the bare assertion of legal conclusions.” Allard v. Weitzman (In Re DeLorean Motor

Co.), 991 F.2d 1236, 1240 (6th Cir. 1993). “[A] court is not required to accept as true

                                                 5
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 6 of 25. PageID #: 235




unwarranted legal conclusions and/or factual allegations.” Harvey v. Great Seneca Fin. Corp.,

453 F.3d 324, 327 (6th Cir. 2006).

       DISCUSSION

       Summary Judgment

       The IRS first faults the Bankruptcy Court for declining to convert its 12(b)(6) motion into

a motion for summary judgment. As the Bankruptcy Court noted, the IRS did not state the Rule

56 standards or argue under those standards. The Court concurs, and notes that the IRS

explicitly moved under 12(b)(6) and requested that the Bankruptcy Court convert the motion to a

summary judgment motion as permitted under that rule. The Bankruptcy Court declined to do so

in a separate docket entry. Accordingly, the only issue is whether the Bankruptcy Court properly

declined to convert the motion to a summary judgment motion under Rule 12(b).

       A court’s decision on whether to convert a motion to dismiss into a motion for summary

judgment is reviewed for an abuse of discretion. Ball v. Union Carbide Corp., 385 F.3d 713,

719 (6th Cir. 2004); Backer v. Manning Family Trust, 51 Fed. Appx. 522, 529 (6th Cir. Oct. 22,

2002) (applying the same standard to a bankruptcy court). The IRS generally argues that this

case has been ongoing for a long period of time and that there is little discovery left to complete.

However, the IRS fails to cite any relevant authority or explain how the failure to convert the

motion amounts to an abuse of discretion under these circumstances. Accordingly, the Court

finds that the Bankruptcy Court’s refusal to convert the motion was not an abuse of discretion.

       Section 362(a)(3)

       The IRS claims that the Bankruptcy Court erred in denying its motion to dismiss the

Debtors’ claim under Section 362(a)(3), which imposes a stay of “any act to obtain possession of


                                                 6
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 7 of 25. PageID #: 236




property of the estate or of property from the estate or to exercise control over property of the

estate.” 11 U.S.C. § 362(a)(3). The IRS makes two main arguments that this claim must fail as

a matter of law. First, according to the IRS its failure to pay a tax refund does not control any

property. Second, the IRS believes that to the extent that anyone has a property right in an

unpaid tax refund it is the right of the Debtors, not the estate as required under Section 362(a)(3).

       The first argument is based on the Supreme Court case of Citizens Bank of Maryland v.

Strumpf, 516 U.S. 16 (1995). The Strumpf Court considered whether a bank was liable to its

customer, in bankruptcy at the time, for a breach of the Section 362(a) stay for placing a hold on

the customer’s checking account. Id. at 17. The bank did so in order to prepare and assert a

setoff claim before the bankruptcy court. The Supreme Court first decided that Section 362(a)(7)

prohibiting setoffs was not violated because the bank simply filed a motion for a setoff, but did

not take the setoff. Id. at 19-20. The debtor claimed in the alternative that the bank, by merely

holding the amounts in the debtor’s checking account, was attempting to obtain possession of or

control the debtor’s property under Section 362(a)(3). Id. at 21. The Supreme Court reasoned as

follows in rejecting that argument:

       Respondent's reliance on these provisions rests on the false premise that
       petitioner's administrative hold took something from respondent, or exercised
       dominion over property that belonged to respondent. That view of things might be
       arguable if a bank account consisted of money belonging to the depositor and held
       by the bank. In fact, however, it consists of nothing more or less than a promise to
       pay, from the bank to the depositor, see Bank of Marin v. England, 385 U.S. 99,
       101, 17 L. Ed. 2d 197, 87 S. Ct. 274 (1966); Keller v. Frederickstown Sav.
       Institution, 193 Md. 292, 296, 66 A.2d 924, 925 (1949); and petitioner's
       temporary refusal to pay was neither a taking of possession of respondent's
       property nor an exercising of control over it, but merely a refusal to perform its
       promise.

Id.


                                                 7
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 8 of 25. PageID #: 237




       The IRS argues that Strumpf stands for the principle that an obligor’s refusal to pay a

debt does not control any property belonging to the claimant. It contends that the Bankruptcy

Court misconstrued its argument as an argument that “tax refunds are not property.” According

to the IRS, “[t]ax refunds most certainly are property.” Its “argument is that the refusal to refund

a tax overpayment does not control property because the government’s unappropriated funds in

its own Treasury are not property of any taxpayer, regardless of a claim for tax refund.”

       The Court concludes that the Bankruptcy Court addressed the issue correctly. Simply

put, the reason the bank in Strumpf did not run afoul of Section 362(a)(3) was because it did not

have any property of the depositor’s to control or possess. See Calvin v. Wells Fargo Bank,

N.A., 329 BR. 589, 603 (Bankr. S.D. Tex. 2005) (explaining that a freeze on a bank account does

not violate Section 362(a)(3) because the account is merely “a promise to pay”); Holden v. U.S.,

236 B.R. 156, 163 (Bankr. D. Vt. 1999) (explaining that “the property being controlled was not

estate property”); In re Nat’l Envtl. Waste Corp., 191 B.R. 832, 836 (Bankr. C.D. Cal. 1996)

(explaining that Strumpf “rested not on a limitation of the scope of Section 362(a)(3), but on its

finding that the action at issue did not deprive the estate of property”). However the argument is

framed, the aspect of the Strumpf ruling relied upon by the government boils down to whether

the property involved in the freeze—here an unpaid tax refund—is property of the estate.9

       It is at this point that the Strumpf analogy breaks down. Courts to directly address the

issue post-Strumpf have held that an IRS freeze on an unpaid postpetition tax refund amounts to


 9
         The issue of whether the property at issue in this case is property
         of the estate or Debtors is discussed below with respect to the
         government’s second argument. What matters in response to the
         government’s first argument is that the unpaid tax refund is the
         property of someone other than the government.

                                                 8
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 9 of 25. PageID #: 238




a freeze on property of the estate, Holden, 236 B.R. at 163-64, and authority cited by the IRS is

not persuasive.10 As the Bankruptcy Court explained, many courts have treated a tax or similar

refunds as the property of the estate or debtor. See Segal v. Rochelle, 382 U.S. 375, 380 (1966)

(holding that a loss-carryback refund is property under the Bankruptcy Act); Johnston v. Hazlett,

209 F.3d 611, 613 (6th Cir. 2000) (holding that earned income tax credits are property of the

estate); Williams v. Johnson, 1995 U.S. App. LEXIS 12800, * (6th Cir. May 24, 1995) (holding

that an unpaid Department of Energy refund is property of the estate). Although the IRS

attempts to find fault with these cases,11 the Court notes that “property” is afforded a broad

meaning in the bankruptcy context and the Supreme Court has long characterized a taxpayer or




 10
         The IRS cites Brockelman v. Brockelman, 478 F. Supp. 141, 144
         (D. Kan. 1979), for the proposition that “the money in the hands of
         the IRS is the money of the United States, and remains the money
         of the United States until paid over to the person entitled to it.”
         That case, however, does not support an analogy to the bank
         account of Strumpf. Indeed, the Brockelman court acknowledged
         “the fact that an income tax refund may be property of the taxpayer
         within the meaning of the Bankruptcy Act . . . .” Id. at 144. The
         issue in Brockelman was whether this fact mattered for sovereign
         immunity purposes. The IRS also notes that the Holden case
         involved different factual circumstances related to the duration of
         the freeze and the freeze procedures employed by the local IRS
         office. This simply demonstrates that courts must look to the
         particular allegations in each case to determine whether control has
         been exercised over the property, which is discussed in more detail
         infra.
 11
         For example, most cases involve a dispute as to whether the tax
         refund is property of the debtor or estate. According to the IRS, a
         number of these cases are really just disputes over who has a claim
         to the tax return. This analysis misses the point. So long as the
         underlying tax return (unlike the account balance in Strumpf) is
         property, so too is a claim to that property under the bankruptcy
         code. See 11 U.S.C. § 541(a)(1).

                                                 9
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 10 of 25. PageID #: 239




 estate’s rights to a tax refund as a species of property. Kokoszka v. Belford, 417 U.S. 642, 648

 (1974) (concluding “that the Court of Appeals correctly held that the income tax refund is . . .

 ‘property’” under the Bankruptcy Act); Segal, 382 U.S. at 380 (holding that a loss-carryback

 refund is property under the Bankruptcy Act). The Strumpf Court, on the other hand, was faced

 with Supreme Court authority to the effect that a depositor’s right to deposited funds is merely

 contractual in the bankruptcy context. Strumpf, 516 U.S. at 21 (citing Bank of Marin v. England,

 385 U.S. 99, 101 (1966)). Although the Court finds no reason to dispute or minimize the holding

 of Strumpf,12 it simply does not agree that it applies to the unpaid tax refund at issue here.

 Accordingly, the Court concludes that the Bankruptcy Court was correct in concluding that the

 unpaid tax refund is property for purposes of Section 362(a)(3).

        The Bankruptcy Court also correctly addressed the related issue of “control” or

 “possession” of property. The IRS apparently reads Strumpf as creating a per se rule that any



  12
          Some courts have used the excerpt quoted in the next block
          quotation below (516 U.S. at 21) to explain away the property
          aspect of the Strumpf Court’s Section 362(a)(3) holding as dicta.
          Jimenez v. Wells Fargo Bank, N.A., 335 B.R. 450, 458 (Bankr.
          N.M. 2005). The instinct is understandable, since a narrow
          reading of “property of the estate” could exempt a good deal of
          property from the automatic stay. However, the Court finds that
          this dilemma is better handled by recognizing the unique context
          of Strumpf and requiring compelling circumstances to expand
          Strumpf outside of that context. See Holden, 236 B.R. at 163
          (explaining that “we should construe Strumpf’s holding
          narrowly”); Calvin v. Wells Fargo Bank, N.A.,329 B.R. 589, 603
          (Bankr. S. D. Tex. 2005) (applying Strumpf to a bank account).
          But see Mountaineer Coal Co. v. Liberty Mut. Ins. Co., 247 B.R.
          633, 643-44 (Bankr. W.D. Va. 2000) (applying Strumpf to amounts
          owed under an insurance policy). Even the Jiminez decision
          involved a situation where there was no right of setoff, and was
          thus not directly on point with Strumpf. 335 B.R. at 459.

                                                  10
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 11 of 25. PageID #: 240




 freeze of a money obligation does not amount to control or possession of property under Section

 362(a)(3). To the extent that Strumpf can be read as addressing control or possession, its reach is

 much more limited. First, the Supreme Court stated that “petitioner’s temporary refusal to pay

 was neither a taking of possession of respondent’s property nor an exercising of control over it,

 but merely a refusal to perform its promise.” Strumpf, 516 U.S. at 21 (emphasis added).

 The“temporary” delay of Strumpf lasted only five days. Moreover, the Court allowed a

 temporary freeze only to protect the statutory setoff rights of the bank:

        In any event, we will not give § 362(a)(3) or § 362(a)(6) an interpretation that
        would proscribe what § 542(b)'s "exception" and § 553(a)'s general rule were
        plainly intended to permit: the temporary refusal of a creditor to pay a debt that is
        subject to setoff against a debt owed by the bankrupt.

 Strumpf, 516 U.S. at 21. In sum, as the Bankruptcy Court explained, Strumpf provides little

 guidance on the control issue beyond its peculiar facts.13 As the Bankruptcy Court noted, the

 following facts are alleged here:

        In this case, the debtors’ factual allegations include these: the debtors filed a


  13
          The IRS describes the Bankruptcy Court’s opinion as “adopting
          the analysis in In re Jiminez,” 335 B.R. 450, 457-59 (Bankr. N.M.
          2005), and then faults the Jiminez Court for treating Strumpf’s
          362(a)(3) discussion as dicta. The Court disagrees for a number of
          reasons. First, the Bankruptcy Court did not adopt Jiminez, but
          merely cited Jiminez as an example of a Court distinguishing
          Strumpf on the basis that there was no setoff—something Jiminez
          did. See id. at 359 (stating that “[t]his case presents a separate
          issue: whether a depository bank, without a right of setoff can
          freeze funds in a Chapter 7 debtor's bank account”). Second, the
          Jiminez Court’s dicta discussion had to do with the “property”
          issue of whether a bank account was property under 362(a)(3). Id.
          at 458. Although the Court agrees with the IRS that Strumpf’s
          discussion of the property issue was not dicta, that does not mean
          that the Jiminez Court’s discussion of the control issue is flawed,
          or that the Bankruptcy Court erred by citing Jiminez for that issue.

                                                  11
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 12 of 25. PageID #: 241




        chapter 13 case; they proposed a chapter 13 plan which ultimately was confirmed;
        the refunds became due postpetition; the IRS did not tell the debtors it had frozen
        their refunds; the IRS did not have any procedures in place to explain to the
        debtors why their refunds had been frozen or how to challenge the freeze; the IRS
        did not respond to the debtors’ repeated efforts to find out what had happened to
        their refunds; the IRS told Andrea Harchar that she did not deserve a refund; the
        IRS told Andrea Harchar that it would not release her refund because the IRS was
        going to apply it to her prepetition debt; the IRS did not file a motion for relief
        from stay to apply the refund in that fashion; and the IRS delayed seven weeks
        before filing a motion to modify the debtors’ plan, which the IRS later withdrew.

 (Doc. 141, p.18.

        Other courts have had done little to provide guidance on the control issue either. See In

 re Albion Disposal, Inc., 217 B.R. 394, 405 (W.D.N.Y. 1997) (explaining that while the statute

 leaves control undefined, “[f]or the most part, courts have construed that provision broadly”); In

 re Allentown Ambassadors, 2007 Bankr. LEXIS 267, * 37 (Bankr. E.D. Pa. Feb. 5, 2007)

 (explaining that “§ 362(a)(3) case law involving acts ‘to exercise control’ over intangible

 property of the estate may not be entirely consistent in their reasoning and outcome”). Although

 the Sixth Circuit has addressed the issue generally, it has failed to provide any explicit standard

 to follow. See Javens v. City of Hazel Park, 107 F.3d 359, 367-70 (6th Cir. 1997). Accordingly,

 the foreign cases with different facts cited by the IRS do not establish per se rules as the IRS

 contends. See, e.g., In re Mountaineer Coal, 247 B.R. at 642-44 (finding no violation of the

 automatic stay where an insurance company failed to pay a partial refund of premiums in a

 timely manner); United States v. Inslaw, 932 F.2d 1467, 1472 (D.C. Cir. 1991) (holding that

 where parties have a legitimate dispute over ownership of the property at issue there is no

 automatic stay violation). For every case with arguably similar circumstances that found no

 362(a)(3) violation, another similar case with slightly different facts did result in a violation.

 See, e.g., Holden, 258 B.R. at 327 (holding that the IRS freeze violates the automatic stay). The

                                                   12
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 13 of 25. PageID #: 242




 Court thus agrees with the Bankruptcy Court’s conclusion that “any meaningful analysis of the

 case law on this issue (both as cited by the IRS and as cited by the debtors) will require

 consideration of the relevant facts, an exercise outside the scope of a 12(b)(6) motion.”14

        The final contention of the IRS with respect to the 362(a)(3) claim is that any property

 that was controlled by the IRS was property of the Debtors, not the estate. The Bankruptcy

 Court held that it could not decide the issue at the motion to dismiss stage, because even

 accepting the legal arguments of the IRS it would be required to consider the Debtors’ chapter 13

 plan, which is outside of the pleadings. Although the Court disagrees with the Bankruptcy

 Court’s conclusion that it could not review the Debtors’ chapter 13 plan, the Bankruptcy Court’s

 denial of the motion to dismiss will be affirmed for other reasons stated below.

        The Court agrees with the IRS that the chapter 13 plan can be considered at the motion to

 dismiss stage. The Bankruptcy Court refused to consider the plan because “[t]he debtors’

 chapter 13 plan is outside the scope of the pleadings and the court has specifically declined to

 convert the motion into one for summary judgment.” However, it was not necessary to convert


  14
          As the Court noted supra, it will not consider the IRS’s arguments
          based on evidence outside of the Complaint. The IRS also briefly
          contends that “any contention that prolonged refusal to pay an
          obligation violates § 362(a)(3) would render § 362(a)(7) entirely
          superfluous.” Although there may be some overlap in the limited
          circumstances where the control is for the purpose of effecting a
          setoff, the Court does not perceive this as a reason to give
          362(a)(3) a narrow reading in the many circumstances where a
          setoff is not at issue. See Delpit v. Commissioner, Internal
          Revenue Serv., 18 F.3d 768, 772 (9th Cir. 1994) (explaining that
          “[s]ubstantial overlap is common among the automatic stay
          provisions of Section 362(a) [and] reflects Congress' intent to
          describe every conceivable action that might impinge on the
          debtor's ‘breathing spell,’ even though such an approach might
          result in some redundancy”).

                                                 13
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 14 of 25. PageID #: 243




 the motion into a summary judgment motion to consider the plan. First, whether or not the

 chapter 13 plan is part of the Complaint it is a public court pleading from a related proceeding

 that can be considered with a motion to dismiss. Amini v. Oberlin College, 259 F.3d 493, 502

 (6th Cir. 2001) (holding that “matters of public record, orders, items appearing in the record of

 the case, and exhibits attached to the complaint” may be considered in a 12(b)(6) motion

 (quoting Nieman v. NLO, Inc., 108 F.3d 1546, 1554 (6th Cir. 1997))); Quincy Mall, Inc. v.

 Parisian, Inc., 27 Fed. Appx. 631, 636 (7th Cir. Nov. 16, 2001) (“In reviewing a motion to

 dismiss, we may look to matters of public record outside the pleadings, including the public

 court documents filed in the bankruptcy proceedings.”); Rose v. Bev. Health & Rehab. Servs.,

 Inc., 356 B.R. 18, 22 (E.D. Cal. 2006) (considering documents filed in a bankruptcy case to

 resolve a 12(b)(6) motion); EEOC v. Apria Healthcare Group, Inc., 222 F.R.D. 608, 610 n.1

 (E.D. Mo. 2004) (considering chapter 13 petition as a public record which may be considered);

 Bohanan v. Bridgestone/Firestone N. Am. Tire, LLC, 2007 U.S. Dist. LEXIS 26615, *6 (M.D.

 Tenn. Apr. 10, 2007) (considering chapter 13 petition and plan “without converting Defendants’

 motion into one for summary judgment”). Second, the chapter 13 plan is an integral part of the

 Debtors’ complaint as it is mentioned at least eight times. See Munoz v. Sovereign Bank, 2006

 U.S. Dist. LEXIS 66987, *2 (E.D. Pa. Sept. 18, 2006) (considering pleadings from bankruptcy

 proceeding that were “integral to or explicitly relied upon” in the complaint).

        However, the Bankruptcy Court need only consider the chapter 13 plan if that plan is

 actually dispositive of the estate’s rights in postconfirmation property and earnings. The issue of

 rights in property acquired after confirmation of the chapter 13 plan “is an issue which has

 troubled a number of courts in recent years.” In re Petruccelli, 113 B.R. 5, 7 (Bankr. S.D. Cal.


                                                 14
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 15 of 25. PageID #: 244




 1990); see also Cooper v. GGGR Investments, LLC, 334 B.R. 179, 192 (E.D. Va. 2005)

 (explaining that the issue “is a complicated issue which has produced a wide variance of

 opinions”). The problem stems from the arguably contradictory dictates of 11 U.S.C. § 1306 and

 11 U.S.C. § 1327. Cf., Barbosa v. Solman, 235 F.3d 31, 36 (1st Cir. 2000) (explaining that “in

 direct contraposition with the Debtors’ intended interpretation [of Section 1327] is Section

 1306(a) of the Bankruptcy Code”). Section 1306 provides for the property of the estate and

 states as follows:

        (a) Property of the estate includes, in addition to the property specified in section
        541 of this title [11 USCS § 541]--

        (1) all property of the kind specified in such section that the debtor acquires after
        the commencement of the case but before the case is closed, dismissed, or
        converted to a case under chapter 7, or 11, or 12 of this title [11 USCS §§ 701 et
        seq., 1101 et seq., or 1201 et seq.], whichever occurs first; and

        (2) earnings from services performed by the debtor after the commencement of
        the case but before the case is closed, dismissed, or converted to a case under
        chapter 7, 11, or 12 of this title [11 USCS §§ 701 et seq., or 1101 et seq., or 1201
        et seq.], whichever occurs first.

        (b) Except as provided in a confirmed plan or order confirming a plan, the debtor
        shall remain in possession of all property of the estate.

 11 U.S.C. § 1306. Section 1327 provides the following regarding the disposition of property

 following confirmation of the chapter 13 plan:

        Effect of confirmation

        *       *      *

        (b) Except as otherwise provided in the plan or the order confirming the plan, the
        confirmation of a plan vests all of the property of the estate in the debtor.

        (c) Except as otherwise provided in the plan or in the order confirming the plan,
        the property vesting in the debtor under subsection (b) of this section is free and
        clear of any claim or interest of any creditor provided for by the plan.

                                                  15
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 16 of 25. PageID #: 245




 11 U.S.C. § 1327.

        Courts have perceived a contradiction in that Section 1306 provides that earnings and

 property are property of the estate until the case is closed, dismissed or converted, while plan

 confirmation occurs before any of these events and “vests all of the property of the estate in the

 debtor” under Section 1327. Courts have essentially reached three different conclusions as to

 how these provisions interact, each with its own justifications and variants. The first approach

 focuses on Section 1327 vesting “all of the property of the estate in the debtor” and concludes

 that the estate extinguishes at confirmation of the chapter 13 plan. See, e.g., In re Mason, 45

 B.R. 498, 500-01 (Bankr. D. Ore. 1984) (“Post-confirmation creditors may deal with the debtor

 as if no bankruptcy case were pending); In re Petruccelli, 113 B.R. at 17 (explaining that

 “revesting of all of the property of the estate occurs upon confirmation). These courts reason

 that this approach serves the bankruptcy code’s purpose of rehabilitating the debtor and

 preventing the debtor from becoming a “credit pariah.” In re Toth, 193 B.R. 992, 997 (Bankr. D.

 Ga. 1996); In re Petruccelli, 113 B.R. at 16.

        The second approach, which has been adopted by a large number of courts in recent

 years, holds that all property or earnings acquired after confirmation remains with the estate.15

 These courts argue that their approach harmonizes Sections 1327 and 1306 by giving effect to

 the requirement that property continues to enter the estate until the case is closed, dismissed or

 converted. Some courts look to the language of Section 1327 and explain that “vesting” only


  15
          The Court, in referring to a second approach, addresses all
          approaches in which all postconfirmation property vests in the
          estate without regard to the terms of the chapter 13 plan. The
          Court recognizes that some of these courts treat preexisting
          property differently.

                                                  16
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 17 of 25. PageID #: 246




 addresses property that existed at the time of plan confirmation. See, e.g., Barbosa, 235 F.3d at

 36-37 (holding that property of the estate at the time of confirmation vests in the debtors but the

 “Debtors’ regular income and post-petition assets” remain with the estate); Holden, 236 B.R. at

 161 (same); In re Reynard, 250 B.R. 241, 247 (Bankr. E.D. Va. 2000) (same); In re Rangel, 233

 B.R. 191, 198 (Bankr. D. Mass. 1999) (same); In re Kolenda, 212 B.R. 851, 855 (W.D. Mich

 1997) (same); In re Fisher, 203 B.R. 958, 964 (N.D. Ill. 1997) (same). Other courts give

 “vesting” a more limited meaning of something less than full existing property rights for the

 debtor. See, e.g., Woodard v. Taco Bueno Rests., Inc., 2006 U.S. Dist. LEXIS 89135, *26-27

 (N.D. Tex. 2006) (explaining that the “vesting” of Section 1327 only provides a future right to

 the property which ripens when the chapter 13 plan is completed); In re Brensing 337 B.R. 376,

 383-84 (Bankr. D. Kan. 2006) (giving “vests” a limited meaning of possession). The Courts

 adopting either version of the second approach reason that this approach serves the bankruptcy

 code’s purposes of protecting assets and ensuring payment to creditors. See Woodard, 2006 U.S.

 Dist. LEXIS 89135, *28-29 (explaining the congressional intent that the debtor would repay

 debtors during the chapter 13 period); In re Fisher, 203 B.R. at 963 (stating a desire to avoid any

 post-confirmation windfall to the debtor).

        A third approach—advocated by the IRS here—focuses on the plan itself in determining

 whether after-acquired property is property of the estate or the debtor. These courts ask whether

 post-confirmation property and earnings are “necessary” for administration of the plan. See

 Telfair v. First Union Mortgage Corp., 216 F.3d 1333, 1340 (11th Cir. 2000) (explaining that

 “after confirmation, only the amount required for the plan payments remained property of the

 estate”); In re Heath, 115 F.3d 521, 524 (7th Cir. 1997) (providing to the estate “only so much of


                                                 17
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 18 of 25. PageID #: 247




 the income (or her other property) as necessary to the fulfillment of the plan”); In re Leavell, 190

 B.R. 536, 540 (Bankr. E.D. Va. 1995) (explaining that “earnings acquired post-confirmation and

 necessary to implement the Chapter 13 plan remains property of the estate unless the plan states

 otherwise”); In re Ziegler, 136 B.R. 497, 502 (Bankr. N.D. Ill. 1992) (holding that

 postconfirmation property becomes property of the estate as needed to fund the plan). Only

 property and earnings necessary to fund the plan are property of the estate while other property is

 property of the debtor. Heath, 115 F.3d at 524; Ziegler, 136 B.R. at 502; see also Muse v.

 Accord Human Resources, Inc., 129 Fed. Appx. 487, 489 (11th Cir. Apr. 18, 2005) (holding that

 because “there was no assertion that those assets were necessary to meet the terms of the

 bankruptcy plan . . . [the assets were] not part of the bankruptcy estate”).

        The Court first agrees with the IRS that the first approach is incorrect. The first approach

 is simply without textual support, since Section 1306 and other code provisions clearly

 contemplate an ongoing estate. Reynard, 250 B.R. at 246. Moreover, “vesting, like

 confirmation, is a temporal event which occurs once in a case and does not preclude the coming

 into existence of property of the bankruptcy estate in futuro.” Ziegler, 136 B.R. at 502. With

 respect to the second approach, the IRS makes a number of arguments that it should not be

 followed. First, the IRS posits that this approach “totally ignore[s] Section 1322(a)(1).” The

 relevant statute provides for the contents of the plan and reads as follows:

        (a) The plan shall--
          (1) provide for the submission of all or such portion of future earnings or other
        future income of the debtor to the supervision and control of the trustee as is
        necessary for the execution of the plan;
        *       *       *
        (b) Subject to subsections (a) and (c) of this section, the plan may--
        *       *       *
          (9) provide for the vesting of property of the estate, on confirmation of the plan

                                                  18
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 19 of 25. PageID #: 248




        or at a later time, in the debtor or in any other entity;
        *        *       *
          (11) include any other appropriate provision not inconsistent with this title.

 11 U.S.C. § 1322.

        Although courts adopting the second approach may not have addressed Section 1322, the

 Court does not perceive that the second approach is inconsistent with Section 1322. Section

 1322(a)(1) addresses “supervision and control” of property, not whether property belongs to the

 estate or the debtor. Ownership, vesting, and control are not necessarily the same thing in the

 chapter 13 context. In re Wakefield, 312 B.R. 333, 339 (Bankr. N.D. Tex. 2004); 11 U.S.C. §

 1306(b); see also Brensing, 337 B.R. at 383 (distinguishing between control and ownership);

 Kolenda, 212 B.R. at 854 (explaining that “‘vesting’ may mean more than mere possession

 without meaning ownership”). Indeed, from 1322(b)(9) it can be argued that “vesting” of the

 property of the estate in the debtor is a separate concept from supervision and control as

 addressed in Section 1322(a)(1). Moreover, Section 1322(b)(9) provides an explanation for the

 fact that Section 1327 vests property of the estate in the debtor “[e]xcept as otherwise provided

 in the plan or the order confirming the plan . . . .” Under Section 1322(b)(9), property of the

 estate need not vest in the debtor at confirmation and may in fact vest in another entity if so

 specified in the plan.

        The IRS next argues that Section 704(9) of the Bankruptcy Code and 28 U.S.C. §

 157(b)(2)(A) support its position. The IRS notes that Section 704(9) requires the trustee to

 account for all property of the estate while 28 U.S.C. § 157(b)(2)(A) “indicates that an estate

 must be subject to administration by a trustee.” It then posits that the trustee is unable to

 perform these tasks “if funds received separately by the debtor from other sources (such as a tax


                                                  19
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 20 of 25. PageID #: 249




 refund) of which the trustee my never learn is part of the estate” and if the funds can be used by

 the debtor for the debtors’ enjoyment “with no accounting by (or to) the trustee . . . .” The first

 problem with this argument is that the IRS does not attempt to explain how its preferred

 approach avoids these alleged problems. The same issues may arise if the postconfirmation

 funds at issue are necessary for the plan under the third approach. The second problem with this

 argument is that debtors could always attempt to hide property from the trustee. Rather than

 assuming that debtors will hide postconfirmation property from the estate, a better solution is to

 enforce “a continuing duty to disclose property and earnings acquired after the commencement

 of the case.” Wakefield, 312 B.R. at 339; see also Woodard, 2006 U.S. Dist. LEXIS 89135, *31

 (holding that “any assets the chapter 13 debtor acquires after commencement but prior to

 discharge must be disclosed to the bankruptcy court”).

        The IRS also makes a policy argument that requiring postconfirmation creditors to seek a

 modification of the stay to collect on property not required to fund the plan is a “trap for the

 unwary” creditor and risks turning the debtor into a credit pariah akin to a mental incompetent.

 Citing In re Petruccelli, 113 B.R. at 17 (adopting the first approach based in part on the credit

 pariah argument); Heath, 115 F.3d at 523 (adopting the third approach based on part on the

 mental incompetent argument). However, arguments in favor of retaining postconfirmation

 earnings and property in the estate are more compelling. As one court explained, “ to allow

 post-confirmation creditors to undermine the ability of pre-confirmation creditors to be paid

 would place creditors who were or should have been aware of debtors’ financial difficulties in a

 better position than those who may have extended credit before debtors’ precarious financial

 position arose.” Kolenda, 212 B.R. at 855; see also Reynard, 250 B.R. at 249 (explaining that


                                                  20
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 21 of 25. PageID #: 250




 during the pendency of the plan the “competing demands between pre-petition creditors (both

 secured and unsecured) and post-petition creditors can be reconciled and balanced by the court

 on a case by case basis in the context of a motion for relief from the automatic stay”); Woodard,

 2006 U.S. Dist. LEXIS 89135, *27-28 (explaining that the debtor does not receive its fresh start

 until it has received a discharge under the plan and noting the parallel goal of ensuring that

 creditors are repaid to the extent of the debtor’s capability).

        Moreover, the third approach is not without problems. There is no basis in the statutory

 text for an inquiry into what earnings or property are necessary for the plan.16 See Kolenda, 212

 B.R. at 855 (explaining that “no textual basis exists for distinguishing between post-confirmation

 property that is ‘necessary’ and that which is ‘not necessary’”); Holden, 236 B.R. at 162

 (explaining that this approach “contradicts the expansive language of § 1306(a)”); Fisher, 203

 B.R. at 962-63 (explaining that the third approach creates “a distinction among types of post-

 confirmation estate property where there exists no textual basis to do so”); Ziegler, 136 B.R. at

 502 (acknowledging that the third approach’s “construction of the relevant statutory sections is

 imperfect at best”); Woodard, 2006 U.S. Dist. LEXIS 89135, *17-18 (criticizing the “third

 approach [which] accomplishes the King Solomon solution by ‘splitting the baby’” as requiring

 “some judicial rewriting . . . of both sections”). This lack of a clear statutory basis is evident

 from the fact that there is no real standard to determine what earnings and income are necessary

 to fund the plan. Barbosa, 235 F.3d at 37; see also Holden, 236 B.R. at 162 (explaining that “it


  16
          Indeed, the Bankruptcy Court for the Southern District of Georgia
          read the Telfair case from the Eleventh Circuit, which is often
          cited in support of the third approach, as not applying to property
          obtained after confirmation. In re Harvey, 356 B.R. 557, 565
          (Bankr. S.D. Ga. 2006).

                                                   21
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 22 of 25. PageID #: 251




 is not entirely clear what becomes property of the estate” under the third approach); Reynard,

 250 B.R. at 248 (querying which property or wages are necessary to fund a plan).

        Accordingly, the Court agrees with the growing majority of other courts to address the

 issue that property acquired after confirmation of the chapter 13 plan is property of the estate.

 This approach is the only approach that is consistent with the statutory language and the

 purposes of the bankruptcy code. Because the tax refund was property of the estate as a matter

 of law, the motion to dismiss of the IRS with respect to the estate property issue should have

 been denied, but on a different basis than that adopted by the Bankruptcy Court. Having

 addressed all of the government’s arguments with respect to 362(a)(3), the Court affirms the

 Bankruptcy Court’s denial of the motion to dismiss of the IRS.

        Section 362(a)(6)

        The Bankruptcy Court also declined to grant the government’s motion to dismiss the

 Section 362(a)(6) claim. In denying the motion, it again declined to give Strumpf an expansive

 reading that would essentially exempt one owing money to a debtor from violation of the stay. It

 noted conflicting authority as to whether the IRS automated freeze violates Section 362(a)(6)

 and held that the Debtors stated a claim. The Court agrees.

        The IRS states at a number of points that conclusory allegations of a complaint need not

 be accepted in deciding a motion to dismiss. Although the Court does not disagree, it concurs

 with the Bankruptcy Court that the IRS has essentially provided its own characterization of

 Debtors’ allegations. As the Court noted above, the Debtors have provided extensive allegations

 of persistent and ongoing conduct based on specific facts and events. The IRS cannot pull

 statements out of context and claim they are conclusory. For the same reasons, the Court also


                                                  22
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 23 of 25. PageID #: 252




 rejects the various arguments of the IRS that “merely turning off computer automation of

 processing overpayments” cannot violate 362(a)(6). This characterization of Debtors’ claims

 simply ignores the vast majority of their allegations regarding the freeze and its use in this case.

        The IRS next points to a dictionary definition of “collect” as “to bring or gather

 together,” “to exact from,” and “to claim as due and receive payment for.” However, the Court

 feels a better reference is the caselaw that discusses 362(a)(6), which prohibits “any act to

 collect, assess, or recover a claim against the debtor that arose before the commencement of the

 case.” 11 U.S.C. § 362(a)(6). Even the main case relied on by the IRS,17 In re Price, addressed

 Section 362(a)(6) in a single paragraph and was based on its peculiar facts in which there was

 “no hint that the timing of the processing of the Debtors’ refund claims was the equivalent of a

 setoff, freeze, or some other attempt to recover the claims of the IRS against the Debtors for the

 pre-petition tax years.” 134 B.R. 313, 318 (Bankr. N.D. Ill. 1991). Here, as noted by the

 Bankruptcy Court, there are specific allegations that the IRS stated that collection was the

 purpose in this case.18 Cf., In re Merchant, 958 F.2d 738, 741 (6th Cir. 1992) (explaining that


  17
          The Court has already rejected a broad reading of Strumpf as in the
          Mountaineer Coal case. Nor will the Court consider the numerous
          factual arguments of the IRS for the reasons stated supra.
  18
          The IRS asks the Court to ignore this allegation as “provid[ing] a
          road map to debtors’ attorneys as to how to concoct allegations
          about ‘statements’ by employees of large institutional creditors,
          that are impossible to overcome except in a ‘he said / she said’ trial
          on a claim for ‘damages’ under § 362(h).” Whether or not the
          concerns of the IRS related to a “cottage industry” of debtors’
          attorneys are valid, the Court will not simply assume that attorneys
          are acting in a fraudulent manner. To the extent that such a cottage
          industry exists, the Court’s obligation is to enforce the law as
          written, not to modify the law to discourage arguably trivial
          lawsuits.

                                                  23
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 24 of 25. PageID #: 253




 withholding a debtor’s transcript until a prepetition debt is paid is an act to collect, assess or

 recover a prepetition debt).

        Other cases that discuss Section 362(a)(6) in more detail demonstrate that Debtors have

 stated a claim. This Section has generally been read broadly to enforce Congress’s purpose of

 preventing harassment of debtors. In re Duke, 79 F.3d 43, 45 (7th Cir. 1996). In passing Section

 362(a)(6), the Senate and House explained that the provision prevents “creditors from attempting

 in any way to collect a prepetition debt.”19 H.R. Rep. No. 595, 95th Cong., 1st Sess. 340 (1978),

 reprinted in U.S.C.C.A.N. 5836037, 6298. However, “taken to its logical extreme, this section

 could be read as prohibiting all contacts between creditors and debtors . . . .” Pertuso v. Ford

 Motor Credit Co., 233 F.3d 417, 423 (6th Cir. 2000). Thus, the Sixth Circuit has held that “a

 course of conduct violates § 362(a)(6) if it ‘(1) could reasonably be expected to have a

 significant impact on the debtor's determination as to whether to repay, and (2) is contrary to

 what a reasonable person would consider to be fair under the circumstances.’” Id. (quoting In re

 Briggs, 143 B.R. 438, 453 (E.D. Mich 1992)). Courts have declined to read Section 362(a)(6) as

 limited “to those situations where creditors take positive steps to recover on their claims.” In re

 Hellums, 772 F.2d 379, 381 (7th Cir. 1985). Here, Debtors’ allegations include express

 statements that the IRS was attempting to collect the debt as well as long delays and refusals to


  19
          The IRS argues that a broad reading of Section 362(a)(6) as
          prohibiting eventual or planned collection is improper. However,
          an attempt to collect, assess or recover is a violation of Section
          362(a)(6). In re Hines, 147 F.3d 1185, 1188 (9th Cir. 1998);
          Collier on Bankruptcy § 362.03[8]. The IRS also argues that a
          broad reading of Section 362(a)(6) would render other provisions
          of the automatic stay superfluous. However, as the Court noted
          supra, this is common in the context of the automatic stay and is
          not a reason to give Section 362(a)(6) a narrow reading.

                                                   24
Case: 1:06-cv-02927-PAG Doc #: 18 Filed: 06/06/07 25 of 25. PageID #: 254




 provide information regarding the overpayments. Accordingly, the Court agrees with the

 Bankruptcy Court that Debtors’ allegations state a claim under the broad standards for a Section

 362(a)(6) claim noted above.

        CONCLUSION

        For the foregoing reasons, the decision of the Bankruptcy Court is affirmed.

        IT IS SO ORDERED.



                                      /s/ Patricia A. Gaughan
                                      PATRICIA A. GAUGHAN
                                      United States District Judge
 Dated: 6/6/07




                                                25
